Case 6:23-cr-00188-RBD-RMN Document 66 Filed 11/13/23 Page 1 of 5 PageID 346




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

  v.                                              CASE NO. 6:23-cr-188-RBD-RMN

JUN WANG


                   NOTICE OF ELEMENTS OF OFFENSE,
                MAXIMUM PENALTIES, AND FACTUAL BASIS

       The United States of America hereby files this Notice of Elements of the

Offense, Maximum Penalties, Personalization of Elements, and Factual Basis,

stating as follows:

I. ELEMENTS OF THE OFFENSE

       Count One charges the defendant with a violation of 18 U.S.C. § 1543 and the

elements are as follows:

             First:        the defendant willfully and knowingly used or attempted
                           to use a passport; and

             Second:       the defendant knew the passport was false, forged, or
                           counterfeited.

II. MAXIMUM PENALTIES

       The maximum penalties for the offense charged in Count One are ten years in

prison, not more than three years of supervised release, not more than a $250,000

fine, and a $100 special assessment.

       The defendant must also forfeit property, pursuant to 18 U.S.C. § 982(a)(6), as

outlined in the Indictment.
Case 6:23-cr-00188-RBD-RMN Document 66 Filed 11/13/23 Page 2 of 5 PageID 347




III. PERSONALIZATION OF ELEMENTS

        Count One:

                First:          On or about September 6, 2023, in the Middle District of
                                Florida, did you willfully and knowingly use or attempt to
                                use a passport?

                Second:         Did you know that the passport you used or attempted to
                                use was false, forged, or counterfeited?

IV. FACTUAL BASIS

        On September 6, 2023, Jun Wang (“WANG”) and Ching Yu (“YU), both

citizens and nationals of Taiwan, Republic of China, each willfully and knowingly

used a counterfeit/fraudulent Republic of Korea (hereinafter “South Korea”)

passport when entering the United States at the Orlando International Airport. Wang

and Yu flew into Orlando together on a flight from San Jose, Costa Rica, and

presented their respective counterfeit/fraudulent South Korean passports to Customs

and Border Protection (CBP) officers.

        Wang presented to the CBP officer a South Korean passport in the name of

Y.K. with a date of birth of XX/XX/1975, and an approved ESTA application 1



        1
          The Visa Waiver Program (VWP), administered by the Department of Homeland Security
(DHS) in consultation with the State Department, enables citizens or nationals of VWP-designated
countries to travel to the United States for business or tourism for stays of up to 90 days without
obtaining a visa, if they otherwise meet the VWP’s eligibility requirements. In order to enter the
United States without a visa on the VWP, otherwise eligible travelers must obtain approval through
the Electronic System for Travel Authorization (ESTA) prior to boarding a United States-bound air
or sea carrier. ESTA is an automated system administered by United States Customs and Border
Protection (CBP) that determines eligibility of visitors to travel to the United States under the VWP
through an online application that collects biographic information and answers to VWP eligibility
questions regarding each prospective traveler. While ESTA approval authorizes a traveler to board
a carrier for travel to the United States, a determination of the traveler’s ultimate admissibility into


                                                   2
Case 6:23-cr-00188-RBD-RMN Document 66 Filed 11/13/23 Page 3 of 5 PageID 348




filled out as Citizen of South Korea with the same biographical information that was

contained in the South Korean Passport. Wang was referred to Passport Control

Secondary for further inspection.

       During the Passport Control Secondary inspection, CBPO Santiago conducted

a baggage exam of Wang’s luggage revealing Wang’s valid passport from Taiwan

that contained her true biographical information, including her name (“WANG,

Jun”), date of birth (XX/XX/1975), and country of birth and citizenship (COB:

China, COC: Taiwan-Republic of China). Additionally, Wang’s baggage contained a

package of sanitary pads that concealed additional Taiwan identification cards that

belonged to her. The biographical information contained on these identification

cards were identical to the information on her Taiwan passport. During the baggage

exam, Wang stated to CBPOs Rivera and Zhao, the latter of whom served as a

Chinese-Mandarin interpreter, that she obtained the fraudulent Korean passport

while in Costa Rica, which was arranged by another passenger on the flight “J.C.”

(who was later identified as co-defendant, Ching Yu) who contacted a friend through

“WeChat.” 2

       CBPOE J. Mondejar conducted a law enforcement computer system check

revealing that, on May 28, 2022, Wang was previously admitted into the United

States under the Visa Waiver Program (VWP) using her true identity as a Taiwan


the United States pursuant to the VWP is determined by a CBP officer upon the traveler’s arrival to
the United States and presentment of a valid passport from a VWP-designated country.
       2
        WeChat is a Chinese instant messaging, social media, and mobile payment app developed
by Tencent.


                                                 3
Case 6:23-cr-00188-RBD-RMN Document 66 Filed 11/13/23 Page 4 of 5 PageID 349




citizen with her Taiwan passport #XXXXX9578 and was allowed to remain until

August 25, 2022. However, Wang did not depart the United States until December 4,

2022, which caused her to be flagged as an “overstay” and rendered her ineligible for

future stays in the United States under the VWP using her true name and identity.

      On September 4, 2023, Wang submitted an ESTA application for the VWP as

citizen of the Republic of Korea to enter the US. Wang filled out this application

utilizing the biographical information derived from her newly obtained fraudulent

Korean identification/passport and a photograph containing her own image.



                                           Respectfully submitted,

                                           ROGER B. HANDBERG
                                           United States Attorney


                                      By: /s/ Michael Sartoian
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                                          4
Case 6:23-cr-00188-RBD-RMN Document 66 Filed 11/13/23 Page 5 of 5 PageID 350




U.S. v. JUN WANG                                     Case No. 6:23-cr-188-RBD-RMN


                            CERTIFICATE OF SERVICE
       I hereby certify that on November 13, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Karla Reyes
       Federal Public Defender


                                               By: /s/ Michael Sartoian
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                                           5
